Case 2:10-md-02179-CJB-DPC Document 11734-4 Filed 10/25/13 Page 1of3

EXHIBIT “C”
Case 2:10-md-02179-CJB-DPC Document 11734-4 Filed 10/25/13 Page 2 of 3.
Case 4:12-cv-00989 Document 35-1 Filed in TXSD on 06/15/12 Page 2 of 3

Namé: E ly Dehysan

The following questions are part of our fact-finding regarding the abandon ship
evolution on board the Deepwater Horizon during the evening of 20 April 2010.
There will be no repercussions from answering these questions. We are working
to ensure we have a clear picture of how the crew abandoned the vessel.

We realize that these questions may have been already asked, and appreciate
your assistance. We also understand that any information provided is not
considered sworn testimony that will result in any form of further action from the

board.
Basic Questions for All Survivors

1. Were you aware of any well control situations prior to the casualty?
No PL wase fb
2. Where were you at the time of the casualty?
tn Phe Chango cu 1) Hae Damm Baud sda
3. How were you notified of the evacuation?
By He caffam aller F Cape Ay my Coasts
4. Did you hear the general alarm?

YO
5. Did the emergency lights come on?
E could sec
6. Were you injured?

F vas Shoolan uf 4 [Po

7. Did you assist anybody who was injured?
yes E @ss.yol every duly Ptaf- wa) huat> or peaked falp

8. What did you observe with regard to structural integrity, e.g., Water Tight Door

Jeft open?
7 ZL dant ob serve

9. How did you evacuate from the rig?
TT uae dan Ste ay PP wy on tle boat

10.Which lifeboat were you assigned to?

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Case 2:10-md-02179-CJB-DPC Document 11734-4 Filed 10/25/13 Page 3 of 3
Case 4:12-cv-00989 Document 35-1 Filed in TXSD on 06/15/12 Page 3 of 3

11. Which lifeboat/life raft did you end up using? Was it full? How many people
were in it?

fees wheal & be
42. !f you did not evacuate the rig in the lifeboat you were assigned, why not?
(oe> wb} apply by me
43.Were there any problems with launching or operating lifeboat/life raft?
Yees rit affl/ A re
14. Who ordered the lowering of your lifeboat/life raft?
hoes of afl by fo po
15. Who was in charge of the lifeboat/life raft?
Yoes rot- aftly fy re
16. Did everything work out the way you had drilled?
Ves euery thas eon} actodin A> Mr drlt [s
17. Did your lifeboatlife raft conduct any Search and Rescue activities?

Yes out Salle brut peled foe Gaps au- He vt fa-~ceef yestued Sire ds

18. Did you see any of the missing persons? Where? When? What was their
status?

19, Who was in charge of the rig before the first explosion?

7 7, Y jaw St Cha» Af COnprond ox Ale YO), Yi FT temeshp. 4 uts a frtos coon. rig dally

20. ine did the Master assume command of the rig?
LE Phish afer fee CxpliSio anol /te AY wuts on fire

21.Who coordinated the on-scene firefighting effort from the Damon Bankston?

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